  Case 21-11186        Doc 11       Filed 10/12/21 Entered 10/12/21 15:29:46           Desc Main
                                      Document     Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                    (Eastern Division)


 In re:
                                                     Chapter 7
 YURI BABAYAN,                                       Case No. 21-11186- (JEB)

                           Debtor.



                         MOTION TO AMEND SCHEDULE F AND J

To the Honorable Janet E. Bostwick, United States Bankruptcy Judge:

          Pursuant to Fed. R. Bankr. P. 1009(a), Yuri Babayan (the “Debtor”), hereby moves to

amend his Schedules F and J filed with the petition in his Chapter 7 proceeding to include updated

information regarding the Debtor’s creditors and the Debtor’s monthly expenses. As grounds

therefor, the Debtor states the following:

          1.    On August 17, 2021 (the “Petition Date”), the Debtor filed a petition for relief under

chapter 7 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the District of Massachusetts (the “Court”).

          2.    The Debtor filed all of his Schedules and his Statement of Financial Affairs along

with the Petition. After several conversations with the United States Trustee’s office, the Debtor

has amended his Schedules to correct several issues and clarify additional information not

contained in the original filing.

          3.    The Debtor seeks the Court’s permission to amend his Schedule F to detele

duplicative entries and to include information concerning the dates various debts were incurred

and account information. A copy of the Debtor’s amended Schedule F is attached hereto as Exhibit

A.
  Case 21-11186      Doc 11     Filed 10/12/21 Entered 10/12/21 15:29:46            Desc Main
                                  Document     Page 2 of 4



       4.      The Debtor seeks the Court’s permission to amend his Schedule J to correct his

account of monthly expenses and to fix a typo in the amount of monthly expenses relating to his

child. A copy of the Debtor’s amended Schedule J is attached hereto as Exhibit B.

       WHEREFORE, the Debtor respectfully requests that the Court enter an order approving

the Debtor’s amended Schedules F and J and for such other and further relief as may be justified.

                                                Respectfully submitted,

                                                YURI BABAYAN,
                                                By his counsel,

 October 12, 2021                               /s/ Jesse I. Redlener
                                                Jesse I. Redlener (BBO #646851)
                                                ASCENDANT LAW GROUP LLC
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  Case 21-11186      Doc 11     Filed 10/12/21 Entered 10/12/21 15:29:46          Desc Main
                                  Document     Page 3 of 4



                        UNITED STATES BANKRUPTCY COURT
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 In re:
                                                  Chapter 7
 YURI BABAYAN,                                    Case No. 21-11186- (JEB)

                         Debtor.


                               CERTIFICATE OF SERVICE

        I, Jesse I. Redlener, hereby certify that on October 12, 2021, I served a copy of the
Motion to Amend Schedules F and J on all parties via the Court’s Electronic Case Filing system
or by first class mail to those on the attached service list to those requesting notice.



                                            /s/ Jesse I. Redlener
                                            Jesse I. Redlener
 Case 21-11186    Doc 11   Filed 10/12/21 Entered 10/12/21 15:29:46   Desc Main
                             Document     Page 4 of 4



SERVICE LIST

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